                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION
                                         3:16-cr-316

UNITED STATES OF AMERICA                        )
                                                )
        v.                                      )
                                                )
(1) MICHAEL BOUGHNER                            )
(2) CEDRIC CLARK                                )      ORDER
(3) ISAAC HUMBERTO GONZALEZ                     )
                                                )
(4) CYNTHIA MARTINEZ                            )
(5) BENJAMIN MURRAY                             )
(6) FELICIA SHAW                                )
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       THIS MATTER is before the Court on the Government’s Unopposed Motion for

Alternate Victim Notification Procedures, pursuant to 18 U.S.C. § 3771(d)(2). (Doc. No. 19).

       The Court finds that the number of victims, as defined by 18 U.S.C. § 3771(e), makes it

impracticable to accord all of the victims the rights described in 18 U.S.C. § 3771(a). The Court

further finds that the Government’s proposed publication via the internet is a reasonable

procedure to satisfy 18 U.S.C. § 3771.

       IT IS, THEREFORE, ORDERED that the Government’s Unopposed Motion for

Alternative Victim Notification Procedures, (Doc. No. 19), GRANTED and the Government

may provide notice as detailed in the motion.

 Signed: January 13, 2017




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